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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

DR. JASMINE YOUNGE,
                                          Civil Action No.
     Plaintiff,
                                          1:20-cv-00684-WMR-CMS
v.
                                          JURY TRIAL DEMANDED
FULTON JUDICIAL CIRCUIT
DISTRICT ATTORNEY’S
OFFICE, GEORGIA

     Defendant.


                  DECLARATION OF DR. JASMINE YOUNGE
                      PURSUANT TO 28 U.S.C. § 1746

                                     1.

        My name is Dr. Jasmine Younge. I am competent to give testimony, am

over the age of 18, and do not suffer from any mental or physical condition that

would prevent me from accurately remembering and testifying to the events that I

am testifying to in this Declaration. I understand that this Declaration is under

penalty of perjury and the statements in this Declaration are true and correct based

on my own personal knowledge.
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                                      2.

      I am offering this declaration to provide further information and clarify

things that Defendant may not have asked me about in my deposition.

                                      3.

       I worked as the Director of Policy and Programs and Deputy Chief of Staff

– a position ranked directly under Chief of Staff Lynne Nelson (“Nelson”) – for the

Fulton County District Attorney’s Office (the “DA’s Office”) beginning on or

about May 1, 2019. (May 1 was my official start date, but District Attorney Paul

Howard asked me to come to the office intermittently starting in April to observe

the cases, the meetings, and the overall operations of the DA’s Office.)

                                      4.

       The DA’s Office was lead at that time by District Attorney Paul Howard

(“Howard”).

                                      5.

      When I applied to the DA’s Office, I had significant experience in

operations, consulting, organizational development, and people management. At

the time, I also had almost ten years of teaching experience at the time as well as

an MBA and PhD.
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                                     6.

      When I worked at the DA’s Office, nearly all of the programs I worked on

had been created by my predecessor. I only helped create or modify one or two

programs. For all the other programs, my job was to run them efficiently and

effectively. I don’t believe I wrote any policies during my time working at the

DA’s Office.

                                     7.

      I never had any conflicts, altercations, or heated disputes with anyone in the

DA’s Office.

                                     8.

      I never abruptly left a meeting with Paul Howard, Craig Ferguson, and

Bryan Black. I may have quietly left a meeting to use the restroom because I was

having nausea due to my pregnancy. But, as I recall, I returned to the meeting

when I was done.

                                     9.

      I never berated Lydia Toomer in any meeting and specifically not in a

meeting with clergy.
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                                     10.

      I never told Howard in a meeting with Hawks player Kevin Willis that the

presentation Howard was passing out was wrong.

                                     11.

      In a meeting with Fulton County officials, Howard asked me about a

presentation. When I was asked about the presentation, I informed him that I had

produced a similar document. Howard responded that my document was not

accurate. We proceeded to go through the entire presentation. I informed Howard

at the end of the presentation that it was the same as what I had prepared. He

apologized and told me that he did not realize the presentations were the same.

                                     12.

      I never spoke badly about Howard to other employees, though others spoke

badly about him to me.

                                     13.

      In mid-June, I never said to an investigator “Do you know who I am?” while

putting him down. There was an instance when two investigators were told by

Howard to drive a group of people to Ebenezer Baptist Church, including me. The

investigator then left us and had lunch over at a bar. When I called to ask where

they were, the investigator said they were on the way. They told me that they were
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at a restaurant, and I said, “Are you guys in a restaurant? Are you kidding?” I then

reported the incident to Howard. I was never confronted by Howard about this

incident.

                                     14.

      One day, I called an administrative assistant “Kim” instead of “Kimberly”

by mistake during a friendly interaction. Kimberly snapped at me and yelled at me.

I calmly told Kimberly that she needed to calm down. Kimberly then went to Paul

Howard and told him that I disrespected her.

                                     15.

      One time, an attorney blocked me from getting off the elevator with her cart.

I said, “Excuse me,” and the attorney said, “Excuse you!” I responded by saying,

“Oh wow, this is interesting.”

                                     16.

      I never got angry in a meeting with Howard and the Atlanta Public Schools

Superintendent for being asked to switch seats. This never happened.

                                     17.

      Our staff meetings always included Paul Howard. I never got upset in them

if my suggestions were not accepted or embraced.
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                                     18.

      I never said, “That ain’t happening” when Lauren Trevis tried to see Paul

Howard. One day, Trevis came to Howard’s office and demanded to get on his

calendar. Trevis was rude and showed me no respect. I was there and said that he

was really booked for the day, that it was jam packed, and that tomorrow morning

would work. I did not know what she was coming for, and Trevis did not tell me. If

Trevis had told me that Paul Howard instructed her to be placed on his calendar for

that day, I would have asked the front desk if there was anything that could be

bumped. His usual assistant, Aisha Johnson, was not there that day and the person

filling in did not have full access to change his schedule around. I did not

disrespect Trevis.

                                     19.

      Whenever I met with dignitaries or members of the public, Paul Howard was

always present for the meeting. He never passed up a chance to be in the spotlight.

                                     20.

       On July 1, 2019, I personally handed Howard a typed letter notifying him

that I was pregnant and that my pregnancy was considered high risk.
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                                      21.

       Howard read the letter while I was standing there and got extremely upset

and agitated. He raised his voice and yelled at me asking, “What is this? Is this a

threat?”

                                      22.

       After I left Howard’s office, another employee – Iyana Young (“Iyana”) was

called to his office. Later on, HR Director Tisa Grimes (“Grimes”) told me that

Iyana came to her and said that Howard told her that my letter was a threat. (At

least, that’s what I remember Grimes telling me – that Howard told Iyana that the

letter was a threat, whereas he only asked me if it was a threat.)

                                      23.

       For the next two weeks, Howard ignored me, reassigned my work duties to

others, excluded me from meetings, and would not allow me to speak in meetings

that I did attend.

                                      24.

       Before I told Howard about my pregnancy, I regularly participated in

meetings for each of the programs I was responsible for. After I told him about my

pregnancy, Howard excluded me from many meetings about these same programs.
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                                     25.

      Before I told Howard about my pregnancy, I was never told that there were

any issues with my performance or work product at the DA’s Office.

                                     26.

      Before I told Howard about my pregnancy, I only ever received praise for

my work.

                                     27.

      At no time during my employment with the DA’s Office did anybody tell me

that I was in any way rude, disrespectful, or unprofessional.

                                     28.

      After my pregnancy disclosure, Howard gave a number of my work duties to

Chris Hopper (who is white) and told me that I should be ashamed that my work

had to be given to a white man.

                                     29.

      I previously testified that it was odd that Howard replaced me with Hopper

in meetings with dignitaries. This is because Hopper was in charge of

communications and had nothing to with operations. Hopper’s job was to create

narratives for the media.
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                                     30.

      I testified in my deposition that I worked “all day every day” with Howard,

or something to that effect. This was obviously hyperbole. I was trying to explain

that Howard and I worked closely together, and he demanded constant availability

around the clock. We did work closely together – until I notified him of my

pregnancy. After that, he avoided me, excluded me from meetings, and frequently

refused to meet with me.

                                     31.

      Before I told Howard about my pregnancy, I had open door access to him. I

could go into his office and talk to him about something whenever his door was

open, without an appointment. But that ended after I notified him of my pregnancy.

The first time I tried to pop into his office after that, he told me “I’m not talking

right now” and told me to leave. After that, I never again had the same easy access

to him or the same close day-to-day working relationship. I couldn’t just pop into

his office and talk to him about something.

                                     32.

      I did not handle any sensitive, confidential, or case related materials for

Howard.
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                                     33.

      I worked on the budget with Nelson. Nelson and I had many meetings on the

budget. I submitted my work to her. She would direct me to obtain certain

information from others and input it into the budget.

                                     34.

      During the July 15 meeting with Howard and Nelson in which Howard

demanded that I submit my resignation, I brought up his statement that my letter

about my pregnancy was a “threat.” (I was thinking about his statement to Iyana

Young that my letter was, in fact, a threat – not his question to me when he merely

asked “is this a threat?”).

                                     35.

      To me, there is a big difference between asking whether my letter was a

threat and affirmatively stating the letter was a threat. My letter was not a threat,

and Howard’s claim to Iyana Young that it was a threat was foremost on my mind

during the July 15 meeting.

                                     36.

      During that meeting, I repeated several times “those were your words” when

talking about his “threat” statement to Iyana Young. Then Howard asked whether

“those [the ‘threat’ statement] were my words to you?” I answer, “nope no”
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because he did not affirmatively tell me that my letter was a threat. Those were his


words to lyana Young.


                                       37.


      Howard then changed the subject and the meeting continued.

                                       38.


      Howard did not respect chain of command. He would allow individuals with


supervisors to come to him directly or he would go over supervisors’ head to their


subordinates. I often raised this to him as an issue.




      I have read this Declaration and affirm under penalty of perjury pursuant to


28 U.S.C. § 1746 that I have personal knowledge of the statements I have made


above and that these statements are true and correct.


                                             So sworn this day, June 10, 2022,




                                             Dr. Jasmine Younge
